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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

 DENIECE WAIDHOFER, an
 individual; MARGARET MCGEHEE,            Case No. 2:20-cv-06979-FMO-AS
 an individual; and RYUU LAVITZ,
 LLC, a Massachusetts limited liability   PLAINTIFFS’ RESPONSE TO
 company,                                 DEFENDANT CLOUDFLARE’S
                                          MOTION TO DISMISS (DKT 84)
                Plaintiffs,
                                          Date Filed: Nov. 18, 2020
       v.                                 Hearing:    Jan. 21, 2021
                                          Time:       10:00 AM
 CLOUDFLARE, INC., a Delaware             Courtroom: 6D
 corporation; BANGBROS.COM, INC.,
 a Florida corporation; SONESTA           Judge: Hon. Fernando Olguin
 TECHNOLOGIES, INC., a Florida
 corporation; MULTI MEDIA LLC, a
 California limited liability company;
 CRAKMEDIA INC., a Canadian
 corporation; and JOHN DOES 1-21, as-
 yet unidentified individuals,

                Defendants.
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 1
               Plaintiffs     Deniece        Waidhofer        (“Waidhofer”),           Margaret   McGehee
 2
      (“McGehee”), and Ryuu Lavitz LLC (“Lavitz”) (collectively, “Plaintiffs”) submit
 3
      this response to the motion to dismiss (Dkt 84) the First Amended Complaint (the
 4
      “Complaint”) filed by Defendant Cloudflare, Inc. (“Cloudflare”).1
 5
                                               INTRODUCTION
 6
               Thothub was a pirate site devoted to illegally copying works published by
 7
      OnlyFans.com and Patreon.com creators on the creators’ paid subscriber accounts.
 8
      At its peak, Thothub received about one million visitors each day and had over 1.1
 9
      million “members.” Cloudflare is an Internet service provider (ISP) that enabled
10
      Thothub’s distribution of infringing works to millions of users. As a service
11
      provider for Thothub, Cloudflare distributed copies of Plaintiffs’ works to Thothub
12
13    users across the United States, stored copies for extended periods on its servers,

14    and even made selection decisions about works to copy. Cloudflare also largely

15    ignored numerous infringement notices from Plaintiffs and other complainants,
16    while continuing to provide infringement-enabling services to Thothub.
17             Cloudflare easily could have limited Thothub’s infringement simply by
18    terminating service, or by not delivering URLs that it had already been notified
19    contained infringing content. But Cloudflare stood behind Thothub instead, as it
20    does regularly for pirates everywhere. Indeed, Cloudflare has made a cottage
21    industry out of indulging pirates. Not by accident, according to a recent European
22    Commission report, 62% of the world’s top 500 infringing domains, about 40% of
23    all pirate sites, and about 44.7% of all copyright-infringing URLs reported to
24    Google in 2019, were using Cloudflare’s services. The Complaint identifies nearly
25    two dozen other pirate sites—all Cloudflare clients—that are Thothub copycats,
26    including one called Thothub.ru that is nearly a direct clone. Cloudflare
27
28    1
          Cloudflare’s memorandum in support of its motion is referenced herein as “Cl. Br.”
                                                     1
                     PLAINTIFFS’ RESPONSE TO CLOUDFLARE’S MOTION TO DISMISS
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 1    distinguishes itself from more scrupulous competitors by making clear to pirates
 2    through words and actions that it is a willing facilitator of piracy.
 3          As such, the Complaint well pleads claims of direct and contributory
 4    infringement. Regarding direct infringement, the Complaint alleges that Cloudflare
 5    made copies other than at the users’ direction, selected works to copy or not copy,
 6    and continued copying works after notice of infringement—all showing volitional
 7
      conduct under Ninth Circuit law. Cf. DISH Network LLC v. Jadoo TV, Inc., 2020
 8
      WL 5816579, *6 (N.D. Cal. Sept. 30, 2020). Regarding contributory infringement,
 9
      Cloudflare repeats the same arguments this Court rejected in ALS Scan, Inc. v.
10
      Cloudflare, Inc., No. 2:16-cv-05051, Dkt 60 (C.D. Cal. Oct. 24, 2016). As in ALS
11
      Scan, Cloudflare’s CDN and security services materially expanded the scale of
12
      infringement on Thothub, and Cloudflare concedes that the knowledge requirement
13
      is adequately pled. Thus, here too, Cloudflare’s motion should be denied.
14
                                         LEGAL STANDARDS
15
            A complaint must contain “sufficient factual matter, accepted as true, to state
16
17    a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

18    (2009) (citing Bell Atl. v. Twombly, 550 U.S. 544, 570 (2007)). Facial plausibility

19    means “the plaintiff pleads factual content that allows the court to draw the
20    reasonable inference that the defendant is liable for the misconduct alleged.” Id.
21    “When there are well-pleaded factual allegations, a court should assume their
22    veracity and then determine whether they plausibly give rise to an entitlement to
23    relief.” Id. at 679. Assessing plausibility is “a context-specific task that requires the
24    reviewing court to draw on its judicial experience and common sense.” Id.
25                                      PROCEDURAL ISSUES
26          Plaintiff Waidhofer filed the original complaint on August 3, 2020. (Dkt 1).
27    The original complaint asserted claims on behalf of Waidhofer alone against
28
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                  PLAINTIFFS’ RESPONSE TO CLOUDFLARE’S MOTION TO DISMISS
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 1    Cloudflare, Inc.; BangBros, Inc.; Multi Media, LLC; Thothub.tv; and certain John
 2    Doe operators of Thothub. On October 14, 2020, Cloudflare and the Advertiser
 3    Defendants (BangBros and MultiMedia) filed motions to dismiss. (Dkts 57 & 59).
 4    On November 4, 2020, Waidhofer amended the complaint once as a matter of
 5    right, pursuant to Rule 15(a)(1)(B), within twenty-one (21) days of the Defendants’
 6    filing of the motions to dismiss. (See Dkt 68). Among other changes, the amended
 7
      complaint added two additional plaintiffs (McGehee and Lavitz) and two
 8
      additional defendants (Sonesta Technologies, Inc. and CrakMedia Inc.) and
 9
      removed Thothub.tv (now believed not to be a legal person) as a defendant.
10
            Cloudflare contends, in a footnote only (Cl. Br. at 2, n.4), that the amended
11
      complaint required leave of court under Rule 15(d). Cloudflare cites no authority
12
      that restricts allegations permitted in a Rule 15(a)(1) amendment of right. And
13
      courts typically find that amendments that otherwise require leave do not when
14
      made under Rule 15(a)(1). See, e.g., In re Cathode Ray Tube (CRT) Antitrust
15
      Litig., 2014 WL 1305040, *4 (N.D. Cal. Mar. 28, 2014) (holding that Rule
16
17    15(a)(1), not Rule 21, governs joinder when done through amendment as a matter

18    of right); Peguese v. PNC Bank, N.A., 306 F.R.D. 540, 545–46 (E.D. Mich. 2015)

19    (collecting cases). This interpretation is consistent with the principle that specific
20    rules control over more general ones. See Hellon & Assocs., Inc. v. Phoenix Resort
21    Corp., 958 F.2d 295, 297 (9th Cir. 1992); cf. Matthews Metal Prods., Inc. v. RBM
22    Precision Metal Prods., Inc., 186 F.R.D. 581, 583 (N.D. Cal. 1999) (holding that
23    Rule 21 “can correctly be viewed as a general provision dealing with adding and
24    dropping parties, while Rule 15(a) is a more specific provision dealing with the
25    particular means by which a party may do so by an amendment to the pleadings”).
26    Here, because the amendment was made as a matter of right under Rule 15(a)(1),
27    Plaintiffs did not need to seek leave.
28
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 1           This interpretation also accords with the broad mandate of Rule 1, which
 2     directs that the Federal Rules “shall be construed and administered to secure the
 3     just, speedy, and inexpensive determination of every action.” Fed. R. Civ. P. 1; see
 4     also A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 188 (C.D. Cal. 2006)
 5     (“[a]ll discovery and federal litigation generally, is subject to Rule 1”). Even if
 6     Cloudflare’s view of Rule 15 were right, the point is immaterial because both the
 7
       letter and spirit of the Rules provide that the “court should freely give leave when
 8
       justice so requires.” Fed. R. Civ. P. 15(a)(2); see also DCD Programs, Ltd. v.
 9
       Leighton, 833 F.2d 183, 186 (9th Cir. 1987) (“[R]ule 15’s policy of favoring
10
       amendments to pleadings should be applied with extreme liberality.”). Although
11
       Cloudflare vaguely suggests that “certain issues” could “profitably have been
12
       explored on a Rule 15(d) motion” (Cl. Br. at 2 n.4), it does not object to the joinder
13
       of parties effectuated by the Complaint, nor does it move to strike anything.
14
             Cloudflare’s argument amounts to “empty formalism” that cuts against the
15
       Rules’ purpose “to minimize technical obstacles to a determination of the
16
17     controversy on its merits.” United States v. Reiten, 313 F.2d 673, 674 (9th Cir.

18     1963) (reversing dismissal of amended complaint containing allegations post-

19     dating original complaint where appellees did not identify any prejudice); see also
20     Stinson v. BNSF Ry. Co., 2014 WL 12843826, *2 (C.D. Cal. Nov. 24, 2014)
21     (“Supplemental pleadings are generally favored because they promote judicial
22     economy and convenience by permitting courts to dispose of related claims and
23     issues in one matter.”). Here, the amended complaint was an efficient way to
24     accomplish the joinder of parties consistent with copyright law and the Rules.
25     Cloudflare raises no substantive objection to the joinder of parties. The Court
26     should disregard Cloudflare’s not-really-asserted, footnoted point of procedure.
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                  PLAINTIFFS’ RESPONSE TO CLOUDFLARE’S MOTION TO DISMISS
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 1                                           MERITS ISSUES
 2           I.     The Complaint Plausibly Alleges Direct Infringement.
 3           Cloudflare insists that it merely operates a “pass-through” service (Cl. Br. at
 4     1), “acts strictly as an intermediary” (id. at 4), and takes only “automated, non-
 5     volitional actions in response to requests from Internet users” (id. at 13). Based on
 6     these disputed facts, Cloudflare argues it lacked “volitional conduct” for direct
 7
       infringement. Cloudflare’s brief ignores the allegations that it made and stored
 8
       additional, unrequested copies for lengthy periods not at the direction of users
 9
       (Compl. ¶¶ 195–97, 200); that it selected, via a non-automated process, which
10
       works would be copied and stored on its systems after notice of infringement (id.
11
       ¶¶ 223–28); and that it has “carved out a competitive niche by serving illegal pirate
12
       sites” that other large CDNs would not, and thereby established itself for business
13
       reasons as the go-to CDN for copyright pirates (id. ¶¶ 208–15, 229–33). These and
14
       other allegations plausibly show volition under the Ninth Circuit’s cases.
15
             To show direct copyright infringement, a plaintiff must establish ownership
16
17     of copyrighted material and that the defendant “copied” this material. VHT, Inc. v.

18     Zillow Grp., Inc., 918 F.3d 723, 731 (9th Cir. 2019) (citing A&M Records, Inc. v.

19     Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001)); see also SOS, Inc. v. Payday,
20     Inc., 886 F.2d 1081, 1085 n. 3 (9th Cir. 1989) (“The word ‘copying’ is shorthand
21     for the infringing of any of the copyright owner’s five exclusive rights” under 17
22     U.S.C. § 106). Cloudflare does not dispute that the Complaint well pleads
23     Plaintiffs’ ownership of registered copyrights and that Cloudflare copied these
24     works in servicing Thothub. (See Compl. ¶¶ 194–207, describing services).
25           Instead, Cloudflare bases its argument on what is “commonly referred to as
26     the ‘volitional-conduct requirement.’” VHT, 918 F.3d at 731 (quoting Perfect 10,
27     Inc. v. Giganews, Inc., 847 F.3d 657 (9th Cir. 2017)). “The so-called ‘volition’
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                  PLAINTIFFS’ RESPONSE TO CLOUDFLARE’S MOTION TO DISMISS
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 1     element of direct infringement is not a judicially-created element of intent or
 2     knowledge; it is a basic requirement of causation.” Giganews, 847 F.3d at 666. As
 3     this Court put it, “direct liability must be premised on conduct that can reasonably
 4     be described as the direct cause of the infringement.” Perfect 10, Inc. v. Giganews,
 5     Inc., 2014 WL 8628034, *7 (C.D. Cal. Nov. 14, 2014). “After all, the purpose of
 6     any causation-based liability doctrine is to identify the actor (or actors) whose
 7
       ‘conduct has been so significant and important a cause that [he or she] should be
 8
       legally responsible.’” Cartoon Network LP, LLLP v. CSC Holdings, Inc., 536 F.3d
 9
       121, 132 (2d Cir. 2008) (quoting Keeton et al., PROSSER & KEETON ON TORTS § 42,
10
       at 273 (5th ed. 1984)). In short, the “question is who made this copy.” Id. at 130.2
11
              The volitional conduct requirement arose out of the law’s long recognition
12
       that rote application of classical copyright doctrine to the workings of the Internet
13
       threatens “unreasonable liability” for ISPs, an especially salient concern in the pre-
14
       DMCA era before safe harbors were enacted. See Rel. Tech. Center v. Netcom On-
15
       Line Commc’n Servs., Inc., 907 F. Supp. 1361, 1368 (N.D. Cal. 1995); see also
16
17     Am. Broad. Cos. v. Aereo, Inc., 573 U.S. 431, 454 (2014) (Scalia, J., dissenting)

18     (discussing potential liability of “a defendant who does nothing more than operate

19     an automated, user-controlled system”). For decades, courts have wrestled with the
20     vexing question of what constitutes “volitional conduct” for purposes of finding
21     that an ISP directly “caused” an infringing copy to be made. See, e.g., BWP Media
22     USA, Inc. v. Polyvore, Inc., 922 F.3d 42 (2d Cir. 2019).3
23
       2
         But see Robert C. Denicola, “Volition and Copyright Infringement,” 37 CARDOZO L. REV.
24     1259, 1273 (2016) (“There is no rule of copyright law that would preclude the imposition of
       direct liability on both parties [i.e., ISP and user]”); S. Rep. No. 94-473, at 162 (1975)
25     (legislative history of the original 1976 Copyright Act: “where the work was infringed by two or
26     more tortfeasors, the bill would make them jointly and severally liable”).

27     3
         Reflecting the unsettled state of the law, the Second Circuit’s recent decision in BWP Media
       fractured into three separate concurring opinions. However, as explained below, all three judges
28     agreed that the defendant ISP in that case could be liable for direct infringement. Id. at 44.
                                                        6
                    PLAINTIFFS’ RESPONSE TO CLOUDFLARE’S MOTION TO DISMISS
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 1           Under Ninth Circuit law, “[t]o demonstrate volitional conduct where the
 2     defendant operates an automated, user-controlled system, the plaintiff must show
 3     that the defendant exercised control by either ‘selecting material for upload,
 4     download[,] transmission, or storage’ or by ‘instigating any copying, storage, or
 5     distribution’ of the copyrighted material.” DISH Network LLC v. Jadoo TV, Inc.,
 6     2020 WL 5816579, *5–6 (N.D. Cal. Sept. 30, 2020) (quoting VHT, 918 F.3d at
 7
       732). This approach distinguishes pass-through automated systems that act strictly
 8
       as intermediaries, from those where the system operator selects works or makes
 9
       copies not at the direction of users. Compare Giganews, 847 F.3d at 668 (finding
10
       no volitional act where defendant was “‘passively storing material at the direction
11
       of users in order to make that material available to other users upon request’”)
12
       (quoting CoStar Grp., Inc. v. LoopNet, Inc., 373 F.3d 544 (4th Cir. 2004))
13
       (emphases added), with Jadoo, supra (denying motion to dismiss where
14
       “infringing transmissions [] were not ‘instigated by’ JadooTV users but instead
15
       were provided at [defendant’s] direction” and defendant’s “failure to remove
16
17     infringing content from a website [was] a ‘conscious choice that amounts to

18     volitional conduct’”) (quoting VHT, 918 F.3d at 733–34); Polyvore, 922 F.3d at 44

19     (reversing summary judgment where defendant “created multiple copies of
20     [plaintiff’s] photos that were not requested by [ ] users”); EMI Christian Music
21     Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 96 (2d Cir. 2016) (affirming direct-
22     infringement finding where defendant’s “system retrieved a copyrighted item that
23     a user did not request”) (emphasis added).
24           Applying these principles here, the Complaint adequately pleads volitional
25     conduct by Cloudflare based on three primary sets of factual allegations.
26           First, the Complaint alleges that Cloudflare itself instigated the copying and
27     storage of copyrighted works, not at the direction of users, when it made additional
28
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                  PLAINTIFFS’ RESPONSE TO CLOUDFLARE’S MOTION TO DISMISS
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 1     copies on its servers for other users after delivering a single copy at a different
 2     user’s request. See Polyvore, 922 F.3d at 50–51 (Walker, J., concurring) (“ISPs
 3     that provide additional unrequested copies of copyrighted material in response to a
 4     user’s request for a single copy … may be liable for direct infringement.”); cf. Fox
 5     Broad. Co. v. Dish Network LLC, 747 F.3d 1060, 1067 (9th Cir. 2014) (finding no
 6     volitional act for direct infringement because defendant’s “program creates the
 7
       copy only in response to the user’s command”) (emphasis added).
 8
             According to the Complaint’s allegations, “where a user sought Thothub
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       content not already stored on Cloudflare’s servers, Cloudflare retrieved the content
10
       from Thothub’s servers then provided it to the user.” (Compl. ¶ 200). Then, after
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       serving as a “pass-through” conduit for that original user, Cloudflare made
12
       additional copies that “remained on Cloudflare’s servers.” (Id). “If another user
13
       requested the [same] content, Cloudflare delivered it directly without having to
14
       retrieve the content from Thothub again.” (Id). These additional copies were stored
15
       “for extended periods on [Cloudflare’s] servers across the country.” (Id. ¶ 195). As
16
17     a result, “[a]t all or nearly all times that Cloudflare provided services for Thothub,

18     the most commonly accessed pages—such as the homepage, the A-Z glossary, and

19     the infringing content (including Plaintiffs’ works) that appeared on Thothub’s
20     main and featured pages—were stored on Cloudflare servers.” (Id. ¶ 197).
21           These additional copies—in contrast to the single copy that Cloudflare
22     delivered to the original user—were not requested by the original user.
23     Cloudflare’s initial act of “simply serv[ing] as a ‘conduit’” and, “[a]t the user’s
24     direction … simply display[ing] the image its user directed it to display,” may not
25     have been volitional because “the user, who selected the item to be copied, and not
26     [Cloudflare], ‘caused the copy to be made.’” See Polyvore, 922 F.3d at 51 (Walker,
27     J., concurring) (quoting Cartoon Network, 536 F.3d at 131). But, as in Polyvore,
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 1     Cloudflare then “made additional unrequested copies.” Id. at 51–52. Cloudflare’s
 2     additional “copying, like the copying in MP3tunes, was triggered regardless of
 3     whether the user knew about, let alone asked for, the additional images.” Id. at 52
 4     (citing MP3tunes, LLC, supra, finding direct infringement because defendant’s
 5     “system retrieved a copyrighted item that a user did not request”). On these facts, a
 6     Second Circuit panel held unanimously that “the district court’s grant of summary
 7
       judgment to Polyvore on the direct infringement claim was error because there
 8
       [was] a dispute of material fact regarding whether Polyvore created multiple copies
 9
       of [plaintiff’s] photos that were not requested by Polyvore users.” Id. at 44.
10
             So, too, here. Cloudflare’s creation of additional, unrequested copies
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       constitutes “instigating any copying, storage, or distribution” of copyrighted
12
       works, which the Ninth Circuit’s test recognizes as a volitional act. See VHT, 918
13
       F.3d at 732; Jadoo TV, supra, at 6. Rather than simply being like a brick-and-
14
       mortar copy shop that makes a copy for a customer on request, Cloudflare is akin
15
       to a copy shop that secretly makes numerous additional copies for its own uses and
16
17     then distributes those copies to other persons unknown to the person who

18     requested the first copy. The unwitting user who requested only a single copy for

19     his own personal use did not cause these additional copies. Cloudflare did.
20           Second, the Complaint alleges that, after receiving notice of infringement,
21     Cloudflare deliberately deleted, through a non-automated process, some infringing
22     works from its servers and continued to make infringing copies. (Compl. ¶¶ 223–
23     28). In particular, the Complaint alleges that, on or about July 10, 2020,
24     Waidhofer, through her attorneys, “notified Cloudflare in writing about Thothub’s
25     ongoing infringement of her copyrights” and “other facts showing that Thothub
26     was a pirate site that existed for the express purpose of committing copyright
27     infringement.” (Id. ¶¶ 223, 97). After receiving this notice, “on or about July 29,
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 1     2020,” Cloudflare “intentionally deleted” stored copies of Waidhofer’s works from
 2     its own servers “through a non-automated process.” (Id. ¶ 225). Cloudflare then
 3     falsely claimed in a letter to Waidhofer (as it does here) that it only “provides
 4     services ‘on a pass-through basis.’” (Id. ¶ 226). Although it deleted copies of
 5     Waidhofer’s works from its servers (and apparently also disabled caching for those
 6     works), “Cloudflare continued to enable the infringement by delivering the same
 7
       content from the same URLs to users via its proxy service.” (Id. ¶ 227).
 8
             These allegations of deliberate, non-automated conduct in selecting works to
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       copy, as well as the allegations of continued copying after notice, are fatal to
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       Cloudflare’s volition argument. In marked contrast to these facts, the cases that
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       Cloudflare relies on involved defendant ISP systems that operated entirely
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       “without any human intervention.” See Netcom, 907 F. Supp. at 1369; Parker v.
13
       Google, Inc., 422 F. Supp. 2d 492, 497 (E.D. Pa. 2006) (“[w]hen [an ISP]
14
       automatically and temporarily stores data without human intervention … the
15
       necessary element of volition is missing”) (emphasis added); Giganews, 2013 WL
16
17     2109963, at *8 (“An allegation that Defendants control the content on their servers,

18     without a good-faith allegation specifying how Defendants exercised that control

19     to directly create copies, cannot alone create an inference that Defendants engaged
20     in a volitional act directly causing infringement.”) (emphasis added).
21           Cloudflare’s purposeful conduct in selecting works to store is similar to the
22     allegations in Jadoo, which the Northern District of California held months ago (in
23     reliance on the Ninth Circuit’s recent guidance in VHT) were sufficient to defeat a
24     motion to dismiss. 2020 WL 5816579, *5–6 (N.D. Cal. Sept. 30, 2020). In that
25     case, plaintiff DISH alleged that Jadoo and its founder infringed copyrights in
26     certain television channels. Id. at 1. Rejecting defendant’s argument that it merely
27     “set[] up a server that responds to user requests,” the court relied on allegations of
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 1     defendant’s “‘conscious decision’ not to remove Protected Channels from Jadoo
 2     set-top boxes after DISH sent infringement notices.” Id. at 5–6 (quoting
 3     complaint). The court explained that “failure to remove infringing content from a
 4     website is a ‘conscious choice that amounts to volitional conduct.’” Id. at 6
 5     (quoting VHT). Therefore, the court held, “DISH plausibly alleged that
 6     [defendant’s] actions satisfy the volitional requirement of a direct infringement
 7
       claim.” Id.; see also Amazon.com, 508 F.3d at 1172 (explaining that “a service
 8
       provider’s knowing failure to prevent infringing actions could be the basis for
 9
       imposing contributory liability”).
10
             Similarly, here, the Complaint alleges that, on a particular date, Cloudflare
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       “intentionally deleted copies of Waidhofer’s [works] on Thothub after receiving
12
       Waidhofer’s letter [notifying Cloudflare of infringement] in order to conceal the
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       true nature of its activities and services with respect to Thothub.” (Compl. ¶ 226;
14
       see also id. ¶ 97). Even as to intentionally deleted works, “Cloudflare continued to
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       enable infringement by delivering the same infringing content from the same URLs
16
17     to users via its proxy service.” (Id. ¶ 227). Moreover, the Complaint alleges that

18     Cloudflare also received notice from McGehee, Lavitz, and hundreds of others

19     regarding infringement on Thothub. (Id. ¶¶ 113–15, 122–23, 219–22). Despite
20     having received these notices, Cloudflare “continued to make and distribute
21     unlawful copies of the works identified in those notices” as well. (Id. ¶ 222).
22           Cloudflare’s non-automated selection of material to store on its servers, as
23     well as its continuation of copying even after notice about infringement, constitutes
24     “select[ing] any material for upload, download, transmission, or storage,” another
25     type of volitional conduct recognized by the Ninth Circuit. See VHT, 918 F.3d at
26     732. This “deliberate” conduct—“choos[ing] copyrighted content”—“transform[s]
27     [Cloudflare] from a passive provider of a space in which infringing activities
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 1     happened to occur to an active participant in the process of copyright
 2     infringement.” See Cap. Records, LLC v. ReDigi Inc., 934 F. Supp. 2d 640, 656–57
 3     (S.D.N.Y. 2013), aff’d 910 F.3d 649 (2d Cir. 2018) (citing Arista Records LLC v.
 4     Usenet.com, Inc., 633 F. Supp. 2d 124 (S.D.N.Y. 2009)). Cloudflare’s selection of
 5     specific works to copy raises a plausible inference of its volition.
 6           Third, the Complaint alleges that Cloudflare deliberately markets to pirate
 7
       sites, provides vital (infringing) content-delivery services for most of the world’s
 8
       leading pirate sites, and is a “key player in the piracy ecosystem” due to its blatant
 9
       disregard for copyrights and willingness to serve plainly illegal pirate sites “that
10
       other leading CDNs would not.” (Compl. ¶¶ 10, 208–15, 229–33). Stunningly,
11
       according to a recent European Commission report, “[o]ut of the top 500 infringing
12
       domains based on global Alexa rankings, 62% (311) are using Cloudflare’s
13
       services,” as are “approximately 40% of the pirate websites in the world” and
14
       “approximately 44.7% of all copyright-infringing URLs reported to Google” in
15
       2019. (Id. ¶¶ 209, 212, citing the report). The Complaint also discusses a “non-
16
17     exhaustive list” of other obvious pirate sites “similar to Thothub”—each a

18     Cloudflare customer—that infringe Plaintiffs’ copyrighted works. (Id. ¶¶ 229–33).

19     Moreover, it alleges that Cloudflare continues to serve these pirate sites, despite
20     having notice of their rampant ongoing infringement. (Id. ¶¶ 234–41).
21           Courts have left open that “one’s contribution to the creation of infringing
22     copies may be so great that it warrants holding that party directly liable for the
23     infringement.” Cartoon Network, 536 F.3d at 133; see also Fox, 747 F.3d at 1067
24     (positing that activities that do not themselves “establish that [defendant] made the
25     copies” may nevertheless be “relevant” to direct infringement) (citing Cartoon
26     Network); Usenet, 633 F. Supp. 2d at 148–49 (finding direct infringement due to
27     the extent of defendant ISP’s involvement). Classical tort doctrine supports that
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 1     liability attaches where defendant’s “conduct has been so significant and important
 2     a cause that [he or she] should be legally responsible.’” Keeton et al., PROSSER &
 3     KEETON ON TORTS § 42, at 273 (5th ed. 1984) (quoted in Cartoon Network, 536
 4     F.3d at 132); see also Dobbs, THE LAW OF TORTS § 1, at 2 (2000) (explaining that
 5     “torts are traditionally associated with wrongdoing in some moral sense”).
 6            In this case, the Complaint alleges that Cloudflare routinely made additional
 7
       copies not requested by users, selected works to copy, continued to infringe even
 8
       after being notified many times by aggrieved copyright holders (including
 9
       Plaintiffs), obstructed Plaintiffs’ and others’ efforts to protect their rights, and
10
       misrepresented the nature of its services to obscure its role. Cloudflare did this all
11
       for its “paying customer.” (Compl. ¶ 189). And by catering to such pirates that
12
       other CDNs will not, Cloudflare occupies a profitable niche. See Grokster, 545
13
       U.S. at 940 (explaining that evidence that “the commercial sense of [defendant]’s
14
       enterprise turns on high-volume use, which the record shows is infringing … alone
15
       would not justify an inference of unlawful intent, but viewed in the context of the
16
17     entire record its import is clear”); Columbia Pictures Industries, Inc. v. Fung, 710

18     F.3d 1020, 1036–37 (9th Cir. 2013) (in finding intent, relying on evidence

19     regarding defendant’s business interests in infringement). 4
20            Cloudflare’s claim that Plaintiffs’ theory would expose “the owner of any
21     computer connected to the Internet … to unlimited liability” (Cl. Br. at 12) is
22     beyond hyperbole. Cloudflare’s conduct does not remotely resemble one who
23     merely “participates in the ordinary, technically necessary routing of information”
24
       4
         In a related context, the legislative history of the DMCA states that the term “repeat infringer”
25     refers to those “who repeatedly or flagrantly abuse their access to the Internet through disrespect
26     for the intellectual property rights of others.” S. Rep. 105-190, at 52 (1998); H.R. Rep. 105-
       551(II), at 61 (1998); see also In re Aimster Copyright Litig., 334 F.3d 643, 645 (7th Cir. 2003)
27     (explaining that “repeat infringer” refers to persons who are “ignorant or more commonly
       disdainful of copyright”).
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 1     (id.) on the Internet, or even ISPs that make reasonable efforts to follow the law. It
 2     is no accident that so many pirates the world over have decided to do business with
 3     Cloudflare. If this record does not show “volitional conduct” and “proximate
 4     causation,” those concepts have become totally unmoored from their doctrinal
 5     foundation in tort. Because the Complaint adequately pleads specific volitional acts
 6     demonstrating that Cloudflare is a significant and direct cause of infringement, the
 7
       Court should deny Cloudflare’s motion on direct infringement.
 8
             II.    The Complaint Plausibly Alleges Contributory Infringement.
 9
             Cloudflare rolls out the same arguments it previously made and lost in this
10
       Court under nearly identical circumstances. See ALS Scan, Inc. v. Cloudflare, Inc.,
11
       No. 2:16-cv-05051, Dkt 60 (C.D. Cal. Oct. 24, 2016) (Wu, J). (“ALS Scan”)
12
       (denying Cloudflare’s motion to dismiss contributory claim). In particular, it
13
       argues that “Plaintiffs fail to plausibly allege that Cloudflare could have taken
14
       simple measures, or that it failed to take available simple measures, to ‘prevent
15
       further damage to Plaintiffs’ copyright works’”; and that “nothing in Plaintiffs’
16
17     allegations plausibly suggests that Cloudflare materially contributed” to

18     infringement. (Cl. Br. at 14–17). These arguments did not carry the day in ALS

19     Scan, nor do they here. 5
20           The elements of contributory infringement are that defendant (1) had
21     knowledge of infringing conduct and (2) “induce[d], cause[d], or materially
22     contribute[d] to the infringing conduct.” Perfect 10, Inc. v. Amazon.com, Inc., 508
23     F.3d 1146, 1171 (9th Cir. 2007) (citing Gershwin Publ’g Corp. v. Columbia Artists
24     Mgmt., Inc., 443 F.2d 1159, 1162 (2d Cir. 1971)). As applied to ISPs, “a computer
25     system can be held contributorily liable if it has actual knowledge that specific
26
27     5
         As in ALS Scan, Cloudflare does not dispute the sufficiency of allegations that it had
       knowledge about infringement of Plaintiffs’ works. (See Compl. ¶¶ 97–98, 113–15, 122–23,
28     223–28).
                                                   14
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 1     infringing material is available using its system and can take simple measures to
 2     prevent further damage to copyrighted work, yet continues to provide access to
 3     infringing works.” Id. at 1158 (citations and quotations omitted). The Ninth Circuit
 4     has held that “services or products that facilitate access to [infringing] websites
 5     throughout the world can significantly magnify the effects of otherwise immaterial
 6     infringing activities,” and therefore such services or products can be “material
 7
       contributions.” Id. at 1172 (quotations and citations omitted).
 8
             The allegations against Cloudflare—and attendant legal analysis—in ALS
 9
       Scan are mirror images of this case. In ALS Scan, the owner of adult-oriented
10
       works alleged that Cloudflare provided services to certain infringing websites.
11
       According to the plaintiff’s complaint in that case, Cloudflare’s CDN “allows
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       consumers seeking to access a website of Cloudflare’s client to retrieve the website
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       from the closest Cloudflare data center, rather than accessing the site from the
14
       primary host,” and this “results in a client’s website loading twice as fast for its
15
       visitors, regardless of where they are located.” The plaintiff also alleged that
16
17     “Cloudflare’s DNS service ‘allows pirate sites and their hosts to conceal their

18     identity from copyright owners” and that Cloudflare “refuses to disclose the

19     identity of the primary host and site owner,” thereby “act[ing[] as a firewall
20     protecting pirate sites and their hosts from legal recourse by copyright owners.”
21     Plaintiff also alleged “it sent numerous notices to Cloudflare of infringement of its
22     copyrighted works by Cloudflare clients,” yet Cloudflare “continued to offer its
23     CDN and related services to these clients, despite the infringement notifications.”
24     ALS Scan, supra, at 3.
25           This Court found that plaintiff “sufficiently alleged contributory liability
26     against Cloudflare pursuant to a material contribution theory.” Id. The Court’s
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28
                                                        15
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 1     analysis is quoted at length because it is equally applicable here (and for
 2     convenience because the opinion can be found only on the Court’s docket):
 3           Unlike the credit card companies in Visa [494 F.3d 788 (9th Cir.
 4           2007)], which did not help consumers access infringing websites,
             Plaintiff alleges that Cloudflare’s CDN service makes it faster and
 5           easier … for consumers across the world to access infringing
 6           websites and load infringing images from any location. Moreover,
             Plaintiff alleges that consumers seeking access to infringing
 7
             websites retrieve the website and load the infringing images from
 8           the closest Cloudflare data center, rather than from the primary
 9           host. These allegations are sufficient to state a claim for material
             contribution under Ninth Circuit precedent. [citing Amazon.com,
10           508 F.3d at 1172; Louis Vuitton Malletier, S.A. v. Akonic Solutions,
11           Inc., 658 F.3d 936, 943 (9th Cir. 2011); Ellison v. Robertson, 357 F.3d
             1072, 1078 (9th Cir. 2004); A&M Records, Inc. v. Napster, Inc., 239
12           F.3d 1004, 1022 (9th Cir. 2001); Netcom, 907 F. Supp. at 1375] …
13           In addition, with respect to Cloudflare’s DNS service, Plaintiff alleges
14           that Cloudflare ‘allows pirate sites and their hosts to conceal their
             identity from copyright owners,’ thereby preventing copyright
15
             holders from stopping the pirate sites’ infringing activities. These
16           allegations also support a material contribution claim. …
17           Cloudflare contends that it cannot be liable for material contribution
             because there are no ‘simple measures’ Cloudflare could take to
18
             prevent further damage to Plaintiff’s copyrighted works. Cloudflare
19           argues that ‘there are no measures of any kind that Cloudflare could
20           take to prevent this alleged infringement, because the termination of
             Cloudflare’s CDN services would have no impact on the existence and
21           ability of these allegedly infringing websites to continue to operate.’
22           However, a defendant may still be liable for material contribution
             regardless of whether it is able to completely halt infringing
23           activity, so long as it is able to take measures to ‘prevent further
24           damage’ to the copyrighted works. See Amazon.com, 508 F.3d at
             1172. Here, terminating Cloudflare’s services would likely have at
25
             least [had] some impact on the infringing activity of Cloudflare’s
26           clients, in that it would take users twice as long to access and load
27           the infringing images. …

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 1            In sum, because Plaintiff has alleged that Cloudflare’s services facilitate
              access to its clients’ infringing websites, the Court would find that
 2            Plaintiff has sufficiently alleged material contribution.
 3     Id. at 7–9 (emphases added; some citations omitted); see also Mon Cheri Bridals,
 4     LLC v. Cloudflare, Inc., 2019 WL 3245740, *1 (N.D. Cal. July 11, 2019)
 5     (Chhabria, J). (denying Cloudflare’s motion to dismiss due to “[a]llegations that
 6
       Cloudflare knew its customer-websites displayed infringing material and continued
 7
       to provide those websites with faster load times and concealed identities”).
 8
              For obvious reasons, Cloudflare does not even try to distinguish ALS Scan,
 9
       instead simply asserting, without explanation, that this case “presents an easier
10
       question than the motion to dismiss the district court denied” in ALS Scan. (Cl. Br.
11
       at 15).6 On this Plaintiffs agree, although not (one supposes) in the sense that
12
       Cloudflare intended. In fact, this case presents an even stronger complaint than
13
       ALS Scan because it includes the same type of allegations as ALS Scan, plus
14
       additional factual allegations that show in even more stark relief Cloudflare’s
15
       material contributions to the rampant copyright infringement on Thothub.
16
17            As in ALS Scan, the Complaint details Cloudflare’s central role in

18     facilitating infringement for its client site, including that Cloudflare “stored much

19     of Thothub’s site, including pages featuring Plaintiffs’ copyrighted works, for
20     extended periods on its servers across the country” (Compl. ¶¶ 195, 197);
21     “retrieved the content from Thothub’s servers then provided it to the user” or
22     6
         Cloudflare deflects by misleadingly quoting a line from Cobbler Nevada, LLC v. Gonzales that
23     “[n]othing in [plaintiff]’s complaint alleges, or even suggests, that [defendant] actively induced
       or materially contributed to the infringement through purposeful, culpable expression and
24     conduct.” 901 F.3d 1142, 1148 (9th Cir. 2018) (quotation omitted). Out of context, this confuses
       the standards for induced infringement (which requires showing intent) versus material
25     contribution (which does not). See VHT Inc. v. Zillow Grp., Inc., 918 F.3d 723, 745–46 (9th Cir.
26     2019). Cobbler also involved very different facts, turning on “whether the bare allegation that a
       defendant is the registered subscriber of an Internet Protocol (‘IP’) address associated with
27     infringing activity is sufficient to state a claim for direct or contributory infringement.” 901 F.3d
       at 1144.
28
                                                          17
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 1     “delivered it directly without having to retrieve the content from Thothub” (id.
 2     ¶ 200); and “received all user requests to access or view Thothub,” including for
 3     Plaintiffs’ works (id. ¶ 201–02). Absent these services, “Thothub would not have
 4     been able to operate effectively, and certainly not on such a large scale.” (Id.
 5     ¶ 196). In addition, the Complaint alleges that, “[b]y interposing itself between
 6     copyright holders and Thothub, Cloudflare inhibited copyright enforcement.” (Id.
 7
       ¶¶ 210–19). And Cloudflare disregarded the flood of infringement notices received
 8
       from Plaintiffs and hundreds of other creators. (Id. ¶¶ 219–23). Such allegations
 9
       are aligned with, and substantially similar to, those in ALS Scan.
10
              Above and beyond those allegations, the Complaint here also alleges that
11
       Cloudflare offloaded heavy data traffic from Thothub’s servers, without which
12
       those servers would have “overrun and crashed” (id. ¶ 196); that “[u]sers could not
13
       access Thothub except through Cloudflare” due to the Argo Tunnel service, which
14
       ensured that the “only way in or out of Thothub’s server(s) was via Cloudflare,
15
       except one port (Port 8443) reserved for administrators” (id. ¶¶ 203–06); and that a
16
17     Cloudflare engineering executive testified under oath that Cloudflare’s CEO

18     “decided to kick [a customer] off the Internet” because he was “in a bad mood”

19     and thought they were “assholes” (id. ¶¶ 216, 241). Given these specific facts, the
20     Complaint plausibly alleges that, “[i]f Cloudflare had ‘closed’ the Thothub tunnel
21     (and ceased delivering Thothub content that Cloudflare already had stored on its
22     servers), as a practical matter, Thothub would no longer have been available on the
23     Internet.” (Id. ¶ 207). 7 These allegations knock down a purported factual pillar of
24
25     7
         Consistent with these allegations, Cloudflare states that “Cloudflare’s CDN network is key to
26     its security services, including its DDoS mitigation services”; that “a DDoS (‘Distributed Denial
       of Service’) attack occurs when a malicious attacker uses multiple computers simultaneously to
27     request information from a website”; and that “[i]f done on a large enough scale, the requests
       overwhelm the website, take the victim server offline, and render the site inaccessible.” (Cl. Br.
28     at 5–6, quoting Raisly v. U.S., 2016 WL 1117944, *1 (D.N.J. Mar. 22, 2016)) (emphases added).
                                                       18
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 1     Cloudflare’s defense: the faulty idea that “the customer’s website remains online
 2     and fully accessible to users,” even if Cloudflare terminates service. (Cl. Br. at 5).
 3           Even if this pillar could stand as a factual matter, it cannot bear the weight
 4     Cloudflare puts on it. Indeed, this Court rejected the very same argument by
 5     Cloudflare in ALS Scan. There, as here, Cloudflare argued that it could not be held
 6     liable because (it claimed) the “infringing activity would continue to exist without
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       Cloudflare’s services.” ALS Scan, at 7, n. 5 (citing Cloudflare’s brief). The Court
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       rejected this “misplaced” theory as contrary to Ninth Circuit law. The Court noted
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       that, “[i]n Amazon.com, the infringing websites would clearly have continued to
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       exist even without Google’s services”; even still, “the Ninth Circuit held that
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       Google’s services made it ‘faster and easier’ for users to access infringing images,
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       thereby making [Google] liable for material contribution.” Id. As the Court
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       explained, the “defendant may still be liable for material contribution regardless of
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       whether it is able to completely halt infringing activity, so long as it is able to take
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       measures to ‘prevent further damage’ to the copyrighted works.” Id. (citing
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17     Amazon.com, 508 F.3d at 1172). The same applies in this case.

18           Setting aside the underlying factual disputes (which must favor Plaintiffs at

19     this stage), Cloudflare’s all-or-nothing theory ignores that “services or products
20     that facilitate access to websites throughout the world can significantly magnify the
21     effects of otherwise immaterial infringing activities.” Amazon.com, 508 F.3d at
22     1172 (citing Napster, 239 F.3d at 1022; Netcom, 907 F. Supp. at 1375). And it
23     contravenes the Supreme Court’s and Ninth Circuit’s practical admonition that
24     “copyright holders cannot protect their rights in a meaningful way unless they can
25     hold providers of such services or products accountable for their actions.” Id.
26     (citing MGM, Inc. v. Grokster, Ltd., 545 U.S. 913, 929–30 (2005)). Here,
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 1     Cloudflare enabled Thothub to be operated securely on a vast scale. The law
 2     recognizes this as a material contribution that, with knowledge, creates liability.
 3           Although intent is not a required element of a material contribution theory,
 4     actual or circumstantial evidence of intent may be relevant to contributory liability.
 5     See Grokster, 545 U.S. at 934–35 (explaining that courts should not “ignore
 6     evidence of intent if there is such evidence” and should apply “rules of fault-based
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       liability derived from the common law”). In Grokster, the Supreme Court
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       identified three types of “evidence of intent” that are “particularly notable” in
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       evaluating liability for contributory infringement. Id. at 939–40. Each type applies
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       here (though at this stage only well-pled allegations, not evidence, are needed).
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             First, the Court cited evidence that defendant “showed itself to be aiming to
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       satisfy a known source of demand for copyright infringement.” Id. at 939. Here,
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       the Complaint alleges that Cloudflare is a singular world leader in supporting
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       online piracy and “specifically markets” to pirates. (Compl. ¶¶ 208–12, 214, 231–
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       33). Second, the Court cited evidence that defendant did not “attempt[] to develop
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17     filtering tools or other mechanism to diminish the infringing activity using their

18     [service].” 545 U.S. at 939. Here, the Complaint alleges that Cloudflare “does not

19     have reasonably adequate protocols, policies, or metrics for addressing repeat
20     infringement by its customers,” “takes no steps to prevent the infringing content
21     from continuing to be copied and distributed on its servers even after notice,” and
22     has “never voluntarily terminated services … to a customer for repeat copyright
23     infringement.” (Compl. ¶¶ 239–41). Third, the Court cited evidence that “the
24     commercial sense of [defendant’s] enterprise turn[ed] on high-volume use.” 545
25     U.S. at 939–40. Here, the Complaint alleges that Cloudflare “has carved out a
26     competitive niche by serving illegal pirate sites that other large CDN companies”
27     do not, and that its fees are usage-based. (Compl. ¶¶ 190, 205; see also id. ¶¶ 255–
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 1     58). Such facts “alone would not justify an inference of unlawful intent, but viewed
 2     in the context of the entire record its import is clear.” Grokster, 545 U.S. at 940.
 3            As for simple measures, Cloudflare could have simply terminated service to
 4     Thothub. Cf. ALS Scan, supra, at 6 (finding that “terminating Cloudflare’s services
 5     would likely have at least [had] some impact on the infringing activity of
 6     Cloudflare’s clients”) (citing Napster, 239 F.3d at 1021–22). Or it could have
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       stopped serving requests for noticed infringing URLs. Cf. Mon Cheri Bridals, 2019
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       WL 3245740, at 1 (holding that “[a]llegations that Cloudflare knew its customer-
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       websites displayed infringing material and continued to provide those websites
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       with faster load times and concealed identities are sufficient to state a claim”)
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       (citing Giganews, 847 F.3d at 67). “In any event, the extent to which reasonable
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       measures exist for Cloudflare to prevent further damage to Plaintiff[s’] copyrighted
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       works appears to be a factual issue to be resolved at a later stage in these
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       proceedings.” ALS Scan, supra, at 7; see also Amazon.com, 508 F.3d at 1172–73
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       (remanding to district court to resolve “factual disputes over whether there are
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17     reasonable and feasible means for Google to refrain from providing access to

18     infringing images”).

19            Because the Complaint adequately alleges that Cloudflare knowingly and
20     materially contributed to infringement of Plaintiffs’ works on Thothub in much the
21     same way courts deemed sufficient under Ninth Circuit law to state contributory
22     claims against Cloudflare in ALS Scan and Mon Cheri Bridals, the Court should
23     deny Cloudflare’s motion to dismiss the contributory infringement claim.
24                                              CONCLUSION
25            The Court should deny Cloudflare’s motion to dismiss in its entirety.8
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27     8
        However, if the Court finds that any part of Cloudflare’s motion should be granted, it should
       grant Plaintiffs leave to amend the Complaint to allege additional facts that may cure any
28     perceived defects. See Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (en banc).
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 1                                 CERTIFICATE OF SERVICE
 2           I hereby certify that the above document will be served at the time of filing
 3
       on all counsel of record via the Court’s electronic filing system.
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                                             /s/_______________________
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